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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 HECTOR HERNANDEZ and CHARLES
 TERMINI, individually, and on behalf of all
 others similarly-situated,

                                Plaintiffs,
                           v.                                    Case No. 18-cv-7647

 JAMIE RHEE, in her official capacity as                       District Judge John Z. Lee
 Commissioner of the Department of
 Aviation; WILLIAM HELM, in his
 individual capacity, JOSEPH ALESIA, in his
 individual capacity; KEVIN MARTIN, in his
 individual capacity; and, the CITY OF
 CHICAGO, as a municipal corporation and
 as indemnitor,

                                Defendants.

   Corrected Unopposed Motion for Extension of Time to File Response to Defendants’
                         Motions for Summary Judgment

COMES NOW the Plaintiffs, Hector Hernandez and Charles Termini, by and through their
attorney, Gianna Scatchell move for an extension of time through August 31, 2020 to file their
Response to Defendants City of Chicago’s, Kevin Martin’s, and William Helm’s Motions for
Summary Judgment.

As grounds for their motion, Plaintiffs state the following:

   1. Despite Plaintiffs’ counsel’s best efforts, her docket has been chaotic because of CoVid-
      19’s effects on the courts, to wit: court closures, subsequent rescheduled court dates, and
      the abrupt shift to Virtual Hearings and inevitable technology growing pains associated
      with the shift.

   2. Defendants filed their Motions for Summary Judgment on June 2, 2020. Plaintiffs’
      Responses are due on July 23, 2020.

   3. Plaintiffs request an extension of time to August 31, 2020 to respond to Defendants’
      Motions for Summary Judgment.

   4. Defendants do not oppose this extension and request additional time, until Friday,
      October 9, 2020 to file their Reply Briefs, to which Plaintiffs have no objection.




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   5. Plaintiffs’ counsel conferred with all the Defendants’ counsels, and they have no
      objection with the extension of time and no prejudice will occur to Defendants as a result
      of this delay.

   6. This motion is not made for purposes of undue delay but is made in good faith for the
      purpose of preparing an adequate response.


WHEREFORE, for the above and foregoing reasons, Plaintiff respectfully requests this
Honorable Court grant his Motion for an Extension of Time to August 31, 2020 to file a
Response to Defendants City of Chicago’s, Kevin Martin’s, and William Helm’s Motions for
Summary Judgment and that Defendants have until October 9, 2020 to reply.

                                                            Respectfully submitted,

                                                            By: /s/ Gianna R. Scatchell

                                                            GIANNA R. SCATCHELL
                                                            Plaintiffs’ Counsel

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                                                            Email gia@lawfirm.gs


                               CERTIFICATE OF SERVICE

I hereby certify that on July 23, 2020, I electronically filed my Motion for an Extension of Time
with the Clerk of the Court using the CM/ECF system, which will send notification to all parties
of record:

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